
PER CURIAM.
Appellant seeks review of an adverse final judgment rendered in a nonjury case in favor of appellee. The principal question preserved on appeal is the sufficiency of the evidence to support the judgment.
In our review of the issues presented for decision we have given due consideration to the applicable principle that a judgment of the trial court reaches the appellate court clothed with a presumption of correctness. The record reveals that although the testimony is conflicting, there is substantial evidence to support the findings made and conclusions reached by the trial court. It is not the province of this court to substitute its judgment for that of the trier of the facts. These findings will not be disturbed in the absence of a clear showing that the trial court committed error or that the evidence demonstrates that the conclusions reached are erroneous.1 The judgment appealed is accordingly affirmed.
RAWLS, Acting C. J., and WIGGIN-TON, and JOHNSON, JJ., concur.

. Old Equity Life Insurance Company v. Levenson (Fla.App.1965) 177 So.2d 50; Stoller v. Jaffe (Fla.App.1961) 125 So.2d 310.

